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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

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Unsecured Creditors of Shapes/Arch Holdings
L.L.C., et al.


In re:                                              Chapter 11

SHAPES/ARCH HOLDINGS L.L.C., et al.,                Case No. 08-14631
                                                    (Jointly Administered)
                          Debtors.
                                                    Judge: Hon. Gloria M. Burns, USBJ



ORDER APPROVING THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
         RETENTION OF J.H. COHN LLP AS FINANCIAL ADVISOR

          The relief set forth on the following page numbered two (2) is hereby

ORDERED.




{00061609.1 / 0631-001}
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Debtor:                        SHAPES/ARCH HOLDINGS, L.L.C., et al.
Case No:                       08-14631
Caption of Order:              ORDER APPROVING THE OFFICIAL COMMITTEE OF
                               UNSECURED CREDITORS’ RETENTION OF J.H. COHN LLP AS
                               FINANCIAL ADVISOR


          THIS MATTER having been opened to the Court by the Official Committee of

Unsecured Creditors (the “Committee”) of Shapes/Arch Holdings, L.L.C., et al. (the “Debtors”),

upon the Application for entry of an Order approving the Committee’s employment and retention

of J.H. Cohn LLP (“JHC”) as its financial advisor and forensic accountant in this proceeding;

and the Court having considered the Application and the Affidavit of Bernard A. Katz in support

thereof; and the Court being satisfied that JHC does not hold or represent any interest adverse to

the Debtors, their estates or creditors, and is a disinterested person within the meaning of

Sections 328, 1103(b) and 101(14) of the Bankruptcy Code, and that said employment would be

in the best interests of the estates; and notice of the proposed retention having been given in

accordance with the requirements of D.N.J. LBR 2014-1(a); and for good cause shown,

          IT IS ORDERED as follows:

          1.        The employment and retention of J.H. Cohn LLP as financial advisor and forensic

accountant to the Committee is hereby authorized and approved effective as of March 31, 2008.

          2.        Any and all compensation to be paid to J.H. Cohn for services rendered on the

Committee’s behalf shall be fixed by application to this Court in accordance with Sections 330

and 331 of the Bankruptcy Code and such Rules of Local and Federal Bankruptcy Procedure as

may then be applicable, unless an alternate arrangement for interim compensation is authorized

by the Court.

          3.        A copy of this Order shall be served on all parties-in-interest within seven (7)

days hereof.

{00061609.1 / 0631-001}
